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               EXHIBIT B
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                                                     NONCOMPETITION AGREEMENT

                  This Employee Noncompetition Agreement (“Agreement”) is entered into as of
             {{CANDIDATE_SIGNATURE_DATE}}
                                          (the “Effective Date”) by and between Jump Operations, LLC (the
             “Company” or “Jump”), and Liam Heeger (“me”, “I”, or “Employee”). (Employee and Company are each a
             “Party” and collectively the “Parties” and the employment relationship between the Company and me shall
             be referred to herein as the “Relationship”). Any capitalized terms used and not defined in this Agreement
             shall have the respective meanings given to them in the Confidential and/or Proprietary Information
             Agreement.

             In consideration for the Company’s agreement to employ and compensate me, including the compensation
             specifically provided herein, grant me access to its proprietary information, provide specialized training and
             development to me, and for other good and valuable consideration, the sufficiency of which I acknowledge,
             the Company and I acknowledge and agree as follows:

             1. FACTUAL ACKNOWLEDGMENTS. The Company represents and I recognize and acknowledge the
                following:

                      a. The Group Companies are engaged in the following activities, among others (the “Business of
                         the Group Companies”):

                                   i. trading and investing in and with reference to a wide range of products, instruments,
                                      items and events, including futures; commodities; equities, options, and other
                                      securities; energy; currencies, cryptocurrencies, digital tokens, and other digital assets;
                                      debt; and swaps and other derivatives related to the foregoing, including directly with
                                      counterparties; and

                               ii. the development of, design of, research regarding, building, implementing, overseeing,
                                   managing, supporting, monitoring, using, acquiring, investing in, commercializing,
                                   and/or providing, among other things:

                                          1. models, algorithms, trading strategies, quantitative analytics, and other tools
                                             for or to support Trading;

                                          2. systems, technologies, and platforms for use in connection with Trading or
                                             Trading-related activities (including but not limited to order management,
                                             research, risk management, clearing, custody, and compliance);

                                          3. blockchain    validation/mining;   blockchain    infrastructure-as-a-service;
                                             blockchain networks, protocols, chains, platforms, and tokens (collectively,
                                             “Blockchain Projects”); and systems and platforms for use in connection with
                                             Blockchain Projects;

                                          4. low latency computer hardware and software suitable for use in or to support
                                             Trading; and

                                          5. low latency telecommunications circuits, routes, services, and equipment
                                             suitable for use in or to support Trading.


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                      b. The Group Companies trade on exchanges and other trading platforms and directly with
                         counterparties located throughout the world, and due to the nature of the Group Companies’
                         business, an individual’s physical presence in a particular location is generally not necessary
                         to be successful in such trading.

                      c.   Solely by virtue of my employment with the Company, I have acquired and/or will acquire
                           confidential and/or proprietary information belonging to the Group Companies, and but for this
                           association with the Company, I would not have had access or continue to have access to such
                           confidential and/or proprietary information.

                      d. The nature of my employment with the Company exposes or will expose me to confidential
                         and/or proprietary information that is key to the Group Companies’ competitive advantage and
                         business and which would cause irreparable harm to the Group Companies if improperly used
                         or disclosed.

             2. COVENANT NOT TO COMPETE.

                      a. I agree to not to engage directly or indirectly in Competitive Activity, including assisting another
                         to engage in Competitive Activity, at all times during my employment with the Company and
                         during the Noncompete Period.

                      b. I understand and agree that if I fail timely to comply with any notice obligations I have under
                         this Agreement or under the Confidential and/or Proprietary Information Agreement that such
                         failure shall extend, on a day-for-day basis, the time within which the Company must or may
                         act in response to such required notice.

                      c.   “Competitive Activity” means engaging in or doing any of the following:

                                   i. Becoming an employee of, a partner or principal in, or advisor or consultant to, any
                                      entity that is engaged in any aspect of the Business of the Group Companies where
                                      my role is, or is expected to be, a Similar Role;

                               ii. Becoming an employee of, a partner or principal in, or advisor or consultant to, any
                                   entity that engages in Trading where my role is, or is expected to be, a Similar Role;

                               iii. Becoming an employee of, a partner or principal in, or advisor or consultant to, any
                                    entity that designs, develops, builds, or invests in goods, services, or resources
                                    particularly suited for or designed for use in connection with Trading where my role is,
                                    or is expected to be, a Similar Role;

                              iv. Becoming an employee of, a partner or principal in, or advisor or consultant to, any
                                  entity that directly or indirectly markets, sells, leases, or provides goods, services, or
                                  resources to any Group Company particularly suited for or designed for use in
                                  connection with any aspect of the Business of the Group Companies (a “Vendor”)
                                  where I had access to confidential information regarding the absolute or relative value
                                  of the goods, services, or resources provided by or planned to be provided by the
                                  Vendor to any Group Company and where my role is, or is expected to be, either a
                                  Similar Role or a role where such confidential information would be useful in the
                                  performance of my job responsibilities;



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                               v. Becoming an employee of, a partner or principal in, or advisor or consultant to, any
                                  entity that is engaged in any aspect of the Business of the Group Companies in a role
                                  where confidential information I had access to would be useful in the performance of
                                  my job responsibilities;

                              vi. Engaging in, preparing to engage in, overseeing, or becoming a partner or principal in
                                  an entity that engages in Trading to the extent such activity is Related Activity;

                              vii. Engaging in any activity that constitutes part of the Business of the Group Companies
                                   to the extent such activity is Related Activity;

                             viii. Preparing to engage in any activity that constitutes the Business of the Group
                                   Companies to the extent such activity is Related Activity;

                              ix. Developing or overseeing the development of software or hardware platforms with
                                  direct or indirect application to Trading to the extent such activity is Related Activity;

                               x. Developing or overseeing the development of field-programmable gate arrays or
                                  application specific integrated circuits for use in Trading to the extent such activity is a
                                  Related Activity;

                              xi. Developing or overseeing the development of wired and/or wireless communications
                                  links for use in Trading to the extent such activity is Related Activity;

                              xii. Developing or overseeing the development of hardware, software, or
                                   telecommunications equipment for low-latency applications with direct or indirect
                                   application to Trading to the extent such activity is Related Activity;

                             xiii. Developing or overseeing the development of software or hardware for back office
                                   Trading operations including clearing, compliance, and risk management to the extent
                                   such activity is Related Activity;

                             xiv. Developing or overseeing the development of quantitative research platforms capable
                                  of use in Trading to the extent such activity is Related Activity;

                              xv. Developing or overseeing the development of simulation environments for Trading to
                                  the extent such activity is Related Activity;

                             xvi. Developing or overseeing the development of quantitative analytics for Trading to the
                                  extent such activity is Related Activity;

                             xvii. Developing or overseeing the development of analytical techniques, models, and
                                   strategies for pricing, price forecasting, market analysis, predictive modeling, event
                                   trading, book building, or alpha generation, for use in Trading to the extent such activity
                                   is Related Activity;

                            xviii. Developing or overseeing the development of analytical techniques, models, and
                                   strategies for arbitrage and statistical arbitrage, portfolio trading, or any other trading
                                   involving algorithmic or systematic strategies for Trading to the extent such activity is
                                   Related Activity; and


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                             xix. Establishing or maintaining Counterparty relationships related to Trading or to the
                                  Business of the Group Companies to the extent such activity is Related Activity.

                      d. “Developing” means designing, developing, utilizing, acquiring, testing, building, implementing,
                         distributing, monitoring, maintaining, supporting, processing, creating, or assisting in the
                         creation of.

                      e. “Noncompete Period” means the zero (0) to twenty four (24) month period following the
                         termination of my employment with the Company, as elected by the Company within ten (10)
                         business days following the Separation Date (except as provided in Section 3 below). The
                         date of my employment termination is the “Separation Date.”

                      f.   “Related Activity” means activity similar to work I did, services I provided, expertise I used for
                           the Company or any other Group Company, or activity to which confidential information to
                           which I was exposed at the Company pertains.

                      g. “Similar Role” means a role similar to my role at the Company in terms of the services I provide,
                         the responsibilities I undertake, or the expertise I use.

                      h. “Trading” means (i) trading any product, instrument or item that any Group Company traded or
                         was preparing to trade during the period in which Employee was employed by the Company,
                         or (ii) utilizing a trading strategy similar to any trading strategy used or planned to be used by
                         any Group Company during the period in which Employee was employed by the Company and
                         of which Employee was aware.

             3. TEAM MEMBER NONCOMPETE.

                      a. If during (i) my employment by the Company, (ii) the Noncompete Period elected by the
                         Company upon the termination of my employment, or (iii) the six months following the end of
                         the elected Noncompete Period, I:

                                   i. accept an offer for employment or consultancy at a company (or at a company that is
                                      under common control with a company) that I know, or would know upon reasonable
                                      inquiry of that company or Jump, employs a Former Team Member or for which a
                                      Former Team Member is providing consulting services or is retained to provide
                                      consulting services; or

                               ii. enter into a formal or informal partnership or other business relationship with a Former
                                   Team Member;

                           in either case, where my work will involve engaging directly or indirectly in Competitive
                           Activity, and (x) where I will work, I am reasonably expected to work, or I do work, on the same
                           trading team or in the same department as such Former Team Member, or (y) where I will
                           interact, I am reasonably expected to interact, or I do interact, directly or indirectly, in a material
                           way with such Former Team Member, then my Noncompete Period shall be automatically
                           extended by six (6) months (the “Team Member Noncompete Period Extension”), provided that
                           in no event shall the Noncompete Period exceed twenty-four (24) months.

                      b. I shall give notice to the Company within five (5) days of my triggering the requirements of
                         Section 3(a). Such notice shall include the name and address of the new employer, consulting
                         client, or partner(s); the date on which I expect to commence employment with the new

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                           employer, providing consulting services, or working on or for the partnership; a general
                           description of the nature of my new employer’s (or client’s or partnership’s) business and of my
                           duties and responsibilities in connection therewith; the name(s) of Former Team Member(s)
                           who cause Section 3(a) to apply; the nature of each such Former Team Member’s duties and
                           responsibilities at the new employer, client or partnership; and the name and business contact
                           information of my direct supervisor at the new employer or client, if applicable.

                      c.   The Company may, in its sole discretion, waive some or all of the Team Member Noncompete
                           Period Extension without payment obligation for any such waived period by providing notice to
                           me within ten (10) business days following receipt of notice from me that I have triggered the
                           requirements of Section 3(a).

                      d. Noncompete Period Compensation for the Team Member Noncompete Period Extension that
                         becomes due retroactively shall be paid in connection with the Company’s next pay cycle
                         following the expiration of the Company’s waiver election period. By way of example,
                         retroactive Noncompete Period Compensation for the Team Member Noncompete Period
                         Extension could become due in circumstances such as the following: where two months after
                         expiration of my original Noncompete Period I provide notice that I have accepted an offer of
                         employment that triggers the extension in Section 3(a) and the Company does not waive the
                         resulting Team Member Noncompete Period Extension.

                      e. “Former Team Member” means any person who at any time during the twelve (12) month
                         period immediately preceding the termination of my employment was a member of the same
                         trading team or department (if I was not a member of a trading team) as I was at the Company.

             4. AT-WILL EMPLOYMENT;               TERMINATION       OF    EMPLOYMENT;         NONCOMPETE          PERIOD
                COMPENSATION.

                      a. AT-WILL EMPLOYMENT. Employee and the Company understand and acknowledge that this
                         Agreement does not alter the Parties’ at-will employment relationship, as defined under
                         applicable law, such that either party may terminate the relationship at any time for any reason
                         or no reason. Regardless of the manner by which Employee’s employment with the Company
                         is terminated, including whether terminated by Employee or by the Company with or without
                         Cause, such termination shall in no way affect, limit or alter Employee’s continuing obligations
                         under this Agreement including, without limitation, Employee’s Covenant Not to Compete as
                         set forth in Section 2 of this Agreement.

                      b. NONCOMPETE PERIOD COMPENSATION. The Company will continue to pay me my
                         current base monthly salary rate at the time of my Separation Date (the “Noncompete Period
                         Compensation”) during the Noncompete Period (including any Team Member Noncompete
                         Period Extension), provided I do not engage in any Competitive Activity for the duration of the
                         Noncompete Period. Payments under this subsection will be paid consistent with the
                         Company’s payroll schedule and will be subject to all applicable taxes.

                      c.   TERMINATION BY THE COMPANY FOR CAUSE. If the Company terminates the employment
                           relationship for a reason constituting Cause as specified in Subsection 1(b) of the Confidential
                           and/or Proprietary Information Agreement other than Subsections 1(b)(vi) or (vii) (“Serious
                           Cause”), or if the employment relationship terminates for any reason and circumstances
                           constituting Serious Cause existed at any time during the employment relationship and at the
                           time of termination of the employment relationship the Company was unaware of, or had only
                           recently become aware of, material facts underlying the existence of such Serious Cause,

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                          Employee acknowledges and agrees that Employee will not be entitled to, nor shall Employee
                          receive from the Company, any Noncompete Period Compensation. If the Company terminates
                          the employment relationship for Cause and such termination is solely for Cause(s) other than
                          Serious Cause, then the Employee’s entitlement to any Noncompete Period Compensation will
                          not be affected. If the Company has commenced payment of Noncompete Period
                          Compensation and thereafter determines that no such compensation was or is due in light of
                          the existence of Serious Cause, then the Company shall notify the Employee of such
                          determination and Employee shall promptly return all previously received Noncompete Period
                          Compensation.

             5. MODIFICATION BY TRIBUNAL.

                      a. If a court or arbitration panel determines that the time and/or geographic restrictions imposed
                         upon me as set forth in Section 2 and/or 3 of this Agreement are unenforceable in part, such
                         court or arbitration panel may (and is hereby requested to) modify this Agreement so as to
                         impose upon me such restrictions of time and geographic scope as the court or arbitration
                         panel shall find reasonable and proper under the circumstances. All remaining provisions of
                         this Agreement not modified by the court or arbitration panel shall remain in full force and effect.

                      b. If a court or arbitration panel determines that the time and/or geographic restrictions imposed
                         upon me as set forth in Section 2 of this Agreement are void or unenforceable in their entirety,
                         all obligations of the Company to make any payment to me during the Noncompete Period
                         pursuant to Section 4(b) above will terminate.

             6. NOTICE OF FUTURE EMPLOYMENT. In addition to fulfilling the notice obligations that are
                incorporated into this Agreement below, I will notify the Company in writing on or before the last day of
                my employment (i) of any offers of employment that I have accepted and/or that I have received and
                not declined, and/or (ii) if I am quitting my job with the intent to accept or commence work at one or
                more specific companies (even if I do not have an offer of employment), and/or (iii) if I intend to engage
                in any other new business activities. If any of (i), (ii), and/or (iii) is applicable, my notice to the Company
                with respect to each such item shall include, the name and address of the prospective employer and/or
                the nature of the expected new business activities (as applicable), the date on which I expect to
                commence such job or activities, a general description of the nature of my prospective employer’s
                business and of my expected job duties and responsibilities with such prospective new employer. If I
                fail to provide such notice or if I am not truthful in such notice, the Company shall have ten (10) days
                from notice of my violation to elect a new Noncompete Period of up to the longest period that the
                Company could have elected under Section 2(e).

             7. REASONABLE TERMS. I understand that the provisions of this Agreement will limit my ability to earn
                a livelihood in an identical or similar business for the duration of the Noncompete Period. I understand
                the global nature of Group Companies’ business and the efforts the Group Companies undertake to
                develop, preserve, and protect its business and competitive advantage. In light of the need to protect
                the Group Companies’ competitive position and confidential and proprietary information, I agree that
                the scope and duration of the restrictions and limitations contained in this Agreement are reasonable
                to protect the legitimate business interests of the Group Companies. I further acknowledge that these
                restrictions apply regardless of the reason for the termination of my employment relationship with the
                Company.

             8. BREACH. If I materially breach any provision of this Agreement, such breach by me shall constitute a
                forfeiture of all compensation and benefits to me set forth herein. In the event any such compensation
                or benefits have already been conveyed to me as of the time of my breach, I agree to immediately

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                 return and/or repay the same to the Company, including any and all taxes withheld by the Company
                 and paid on my behalf. In addition, if I breach Section 2 or 3 of this Agreement, the Noncompete Period
                 shall be extended by a period of time equal to that period beginning when such breach commences
                 and ending when the activities constituting such breach terminate. In addition, I agree to the destruction
                 of any work product created by me during any period in which I was in violation of Section 2 or 3 of this
                 Agreement. This provision does not replace or limit any other remedies set forth or incorporated herein
                 or that the Company may have at law or in equity, including monetary damages.

             9. ILLINOIS FREEDOM TO WORK ACT. Notwithstanding anything to the contrary in this Agreement, if
                as of the Effective Date Employee’s actual or expected annualized rate of earnings does not exceed
                the applicable threshold amount mandated by the Illinois Freedom to Work Act, 820 ILCS 90/10 (the
                “Minimum Earnings Threshold”), the obligations contained in Sections 2 and 3 of this Agreement (the
                “Noncompete Covenants”) shall be inapplicable to Employee. The Noncompete Covenants shall only
                apply to and bind Employee from and after the date on which Employee’s actual or expected annualized
                rate of earnings does exceed the applicable Minimum Earnings Threshold.

             10. INCORPORATION OF TERMS SET FORTH IN THE CONFIDENTIAL AND/OR PROPRIETARY
                 INFORMATION AGREEMENT. In connection with Employee’s employment by the Company,
                 Employee has signed or will sign an agreement titled Confidential and/or Proprietary Information
                 Agreement. The following provisions set forth in the Confidential and/or Proprietary Information
                 Agreement are incorporated herein by reference and form a part of this Agreement:

                 a. Section 9 pertaining to “Notification of Obligations”;

                 b. Section 10 pertaining to “Dispute Resolution, Law and Jurisdiction” (including, without limitation,
                    the choice of applicable law, the agreement to arbitrate disputes between us except where it is not
                    lawful to require arbitration, the waiver of trial by jury, and the potential for the Company to obtain
                    emergency relief in court); and

                 c.   Section 12 pertaining to “General Provisions.”

             11. VOLUNTARY ACCEPTANCE. By signing this Agreement, I acknowledge that:

                 a. This Agreement has been written in understandable English;

                 b. I have carefully read and fully understand all provisions of this Agreement;

                 c.   I knowingly and voluntarily agree to all of the terms set forth in this Agreement;

                 d. I knowingly and voluntarily agree to be legally bound by this Agreement;

                 e. I have signed this Agreement of my own free will and without duress or constraint and without
                    representations not expressly set forth herein and not relying on any asserted duty or obligation by
                    the Company or any other person to disclose information in connection herewith;

                 f.   I understand that I am entitled to 14 days within which to review this Agreement and decide whether
                      to enter into it; and

                 g. I understand that the Company recommends that I seek the advice of independent legal counsel
                    in connection with this Agreement and I confirm that I have had the opportunity to consult with
                    independent legal counsel before signing this Agreement.

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             AGREED TO AND ACCEPTED BY:

              Jump Operations, LLC                                 Liam Heeger

              By:                                                  By: {{CANDIDATE_SIGNATURE}}
                                                                       Signature

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              Date: #"%                                Date: {{CANDIDATE_SIGNATURE_DATE}}
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